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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 11

    FTX TRADING LTD., et al.,                                      Case No. 22-11068 (JTD)

    Debtors.1                                                     (Jointly Administered)



                                                         Objection Deadline: November 10, 2023 at 4:00 p.m. (ET)
                                                                                Hearing Date: To be determined

                              NOTICE OF MOTION OF PATRICK GRUHN,
                             ROBIN MATZKE, AND LOREM IPSUM UG TO
                          DISMISS BANKRUPTCY CASE OF FTX TRADING LTD.

TO:          (a) the U.S. Trustee; (b) counsel to the Committee; (c) the Securities and Exchange
             Commission; (d) the Internal Revenue Service; (e) the United States Department of Justice;
             (f) the United States Attorney for the District of Delaware; and (g) to the extent not listed
             herein, those parties requesting notice pursuant to Bankruptcy Rule 2002.

             PLEASE TAKE NOTICE THAT on October 27, 2023, Patrick Gruhn, Robin Matzke,

and Lorem Ipsum UG (collectively, “LI Parties”), filed the Motion of Patrick Gruhn, Robin

Matzke, and Lorem Ipsum UG to Dismiss Bankruptcy Case of FTX Trading Ltd. (“Motion”). A

copy of the Motion is attached hereto.

             PLEASE TAKE FURTHER NOTICE THAT objections, if any, to the relief requested

in the Motion must be filed with the United States Bankruptcy Court, 824 North Market Street,

3rd Floor, Wilmington, Delaware 19801, on or before November 10, 2023 at 4:00 p.m. (ET). At




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      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
      4063 respectively. Due to the large number of debtor entities in the above-captioned jointly-administered chapter
      11 cases, a complete list of the debtors (collectively, “Debtors”) and the last four digits of their federal tax
      identification numbers is not provided herein. A complete list of such information may be obtained on the website
      of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The principal place of business of
      Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St.
      John’s, Antigua and Barbuda.


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the same time, you must also serve a copy of the objection upon the undersigned counsel so as to

be received no later than 4:00 p.m. (ET) on November 10, 2023.

        PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION WILL

BE HELD ON A DATE AND TIME TO BE DETERMINED BEFORE THE HONORABLE

JOHN T. DORSEY, UNITED STATES BANKRUPTCY COURT JUDGE, IN THE UNITED

STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH

MARKET STREET, 5th FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY

GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.




                             [Signature Page Immediately Follows]




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 Dated: October 27, 2023
 Wilmington, Delaware

 /s/ Laura Davis Jones_______________
 Laura Davis Jones (DE Bar No. 2436)            THE DALEY LAW FIRM LLC
 Peter J. Keane (DE Bar No. 5503)               Darrell Daley (admitted pro hac vice)
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                                                Counsel to Lorem Ipsum UG, Patrick Gruhn,
                                                and Robin Matzke




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